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       agreement does not affect the rights or obligations of the Govemment as set forth       in   18


       U.S.C. $ 3742(b). Nor does it limit the Government in its comments in or responses to any

       post-sentencing matters.

14.   The Defendant waives all rights, whether asserted directly orby a representative, to request

       or receive fiom any department or agency of the United States any records pertaining to

       the investigation or prosecution of this case, including without limitation any records that

       may be sought under the Freedom of lnformation Act, 5 U.S.C. $ 552, or the Privacy Act

      of 1974,5 U.S.C. $ 552a.
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      The parties hereby agree that this Plea Agreement contains the entire agreement of the

      parties; that this Agreement supersedes all prior promises, representations and staternents

      of the parties; that this Agreement shall not be binding on any parly until the Defendant

      tenders a plea of guilty to the court having jurisdiction over this matter; that this Agreement

      may be modified only in writing signed by all parties; and that any and all other promises,

      reprcsentations and statements, whether made prior to, contcmporaneous with or aftcr this

      Agreeinent,are nuH and void.




                                                   Demarcus Latimer,
                                             Defendant


                                                   hie Rainey, Esquire
                                             Defense Attorney

                                             SHERRI A.LYDON



                                                   Washington (Fed.
                                             Assistant United States



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